                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )       NO. 3:14-00090
                                               )       JUDGE CAMPBELL
WALLACE BECKWITH                               )

                                           ORDER

       Pending before the Court is the Government’s Motion To Dismiss Count 1 Of The

Superseding Indictment As To Defendant Wallace Beckwith (Docket No. 315). The Motion is

GRANTED. Accordingly, Count 1 of the Superseding Indictment is dismissed without prejudice

as it relates to Defendant Wallace Beckwith.

       IT IS SO ORDERED.



                                                       __________________________________
                                                       TODD J. CAMPBELL
                                                       UNITED STATES DISTRICT JUDGE




 Case 3:14-cr-00090       Document 316             Filed 08/20/14   Page 1 of 1 PageID #: 626
